 Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 1 of 32 Page ID #:1



     KJC LAW GROUP, A.P.C.
 1
     Kevin J. Cole (SBN 321555)
 2   9701 Wilshire Blvd., Suite 1000
 3
     Beverly Hills, CA 90212
     Telephone: (310) 861-7797
 4   e-Mail: kevin@kjclawgroup.com
 5
     TAULER SMITH, LLP
 6   Robert Tauler (SBN 241964)
 7
     626 Wilshire Blvd., Suite 510
     Los Angeles, CA 90017
 8   Telephone: (310) 590-3927
 9   e-Mail: rtauler@taulersmith.com

10   Attorneys for Plaintiff
11   Adelina Petrova

12

13                       UNITED STATES DISTRICT COURT
14                      CENTRAL DISTRICT OF CALIFORNIA
15

16   ADELINA PETROVA, individually            CASE NO.
     and on behalf of all others similarly
17   situated,
                                              CLASS        ACTION       COMPLAINT
18         Plaintiff,                         FOR:
19   v.
                                                    1. Violation    of    California’s
20   HOTEL COLLECTION LLC, a                           Unfair Competition Law, Cal.
     Florida limited liability company; and
     DOES 1 to 10, inclusive,                          Bus. & Prof. Code §§ 17200, et
21
                                                       seq.;
22         Defendants.                              2. Violation of California’s False
                                                       Advertising Law, Cal. Bus. &
23
                                                       Prof. Code §§ 17500, et seq.
24                                                  3. Violation of the California
                                                       Consumer Legal Remedies Act,
25
                                                       Cal. Civ. Code §§ 1750, et seq.;
26                                                     and
                                                    4. Fraudulent Concealment.
27

28                                            ///
                                              ///
                                              -1-

                                CLASS ACTION COMPLAINT
 Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 2 of 32 Page ID #:2



                                              Filed Concurrently:
 1

 2                                                  1. Plaintiff’s CLRA Venue
 3
                                                       Affidavit

 4                                            (JURY TRIAL DEMANDED)
 5

 6
           Plaintiff Adelina Petrova (“Plaintiff”), individually and on behalf of all
 7
     others similarly situated, complains and alleges as follows based on personal
 8
     knowledge as to herself, on the investigation of her counsel, and on information
 9
     and belief as to all other matters. Plaintiff believes that substantial evidentiary
10
     support will exist for the allegations set forth in this complaint, after a reasonable
11
     opportunity for discovery.
12
                                   NATURE OF ACTION
13
           1.     This class action targets Hotel Collection LLC (“Hotel
14
     Collection”) for its unlawful, unfair, and fraudulent business practice of
15
     advertising fictitious prices and corresponding phantom discounts on its scent
16
     diffusers    and     many      other    items      sold    through     its    website
17
     (https://www.hotelcollection.com/). This practice of false reference pricing occurs
18
     when a retailer fabricates a fake regular, original, and/or former reference price,
19
     and then offers an item for sale at a deeply “discounted” price. The result is a
20
     sham price disparity that misleads consumers into believing they are receiving a
21
     good deal and induces them into making a purchase. Companies like Hotel
22
     Collection drastically benefit from employing a false reference pricing scheme and
23
     experience increased sales.
24
           2.     The California legislature prohibits this misleading practice. The law
25
     recognizes the reality that consumers often purchase merchandise marketed as
26
     being “on sale” purely because the proffered discount seemed too good to pass
27
     up. Accordingly, retailers, including Hotel Collection, have an incentive to lie to
28
     customers and advertise false sales. The resulting harm is tangible—the bargain
                                              -2-

                                  CLASS ACTION COMPLAINT
 Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 3 of 32 Page ID #:3



 1   hunter’s expectations about the product he or she purchased is that it has a higher
 2   perceived value and she may not have purchased the product but for the false
 3   savings.
 4         3.     The advertised discounts are fictitious because the reference price
 5   does not represent a bona fide price at which Hotel Collection previously sold a
 6   substantial quantity of the merchandise for a reasonable period of time (or at all) as
 7   required by the Federal Trade Commission (“FTC”). In addition, the represented
 8   reference price was not the prevailing market retail price within the three months
 9   immediately preceding the publication of the advertised former reference price, as
10   required by California law. The deception is magnified for these products, because
11   the representation of the false reference price leads consumers like Plaintiff to
12   believe they are purchasing a product of substantially higher quality and that they
13   are purchasing a product that was previously offered for sale at the significantly
14   higher reference price.
15         4.     Through its false and misleading marketing, advertising, and pricing
16   scheme, Hotel Collection violated and continues to violate California law, which
17   prohibits (1) advertising goods for sale as discounted from former prices that are
18   false, and (2) misleading statements about the existence and amount of price
19   reductions. Specifically, Hotel Collection violated and continues to violate:
20   California’s Unfair Competition Law, Business & Professions Code §§ 17200, et
21   seq. (the “UCL”); California’s False Advertising Law, Business & Professions
22   Code §§ 17500, et seq. (the “FAL”); the California Consumer Legal Remedies Act,
23   California Civil Code §§ 1750, et seq. (the “CLRA”); and the Federal Trade
24   Commission Act (“FTCA”), 15 U.S.C. §§ 45, 52.
25         5.     Plaintiff brings this action on behalf of herself and other similarly
26   situated consumers who have purchased one or more scent diffusers, and other
27   items, from Hotel Collection’s online store that were deceptively represented as
28   discounted from false former reference prices in order to halt the dissemination of

                                              -3-

                                 CLASS ACTION COMPLAINT
 Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 4 of 32 Page ID #:4



 1   this false, misleading, and deceptive pricing scheme, to correct the false and
 2   misleading perception it has created in the minds of consumers, and obtain redress
 3   for those who have purchased merchandise tainted by this deceptive pricing
 4   scheme. Plaintiff seeks to obtain damages, injunctive relief, and other appropriate
 5   relief as a result of Hotel Collection’s sales of merchandise offered at a false
 6   discount.
 7         6.     Finally, Plaintiff seeks reasonable attorneys’ fees pursuant to
 8   California Code of Civil Procedure § 1021.5, as this lawsuit seeks the enforcement
 9   of an important right affecting the public interest and satisfies the statutory
10   requirements for an award of attorneys’ fees.
11                                    THE PARTIES
12         7.     Plaintiff Adelina Petrova is a citizen of the State of California and
13   resident of the County of Los Angeles. Plaintiff, in reliance on Hotel Collection’s
14   false and deceptive pricing, purchased a “Hotel Collection Studio Scent Diffuser”
15   (the “Product”) on November 22, 2022 from Hotel Collection’s website
16   (https://www.hotelcollection.com/) for $119.97. 1
17         8.     Plaintiff is informed and believes, and upon such information and
18   belief alleges, that Defendant Hotel Collection LLC is a Florida limited
19   liability company with its principal place of business in Miami, Florida.
20         9.     Plaintiff does not know the true names or capacities of the persons
21   or entities sued as DOES 1 to 10, inclusive, and therefore sues such Defendants by
22   such fictitious names. Plaintiff is informed and believes, and upon such information
23   and belief alleges, that each of the DOE Defendants is in some manner legally
24   responsible for the damages suffered by Plaintiff and the Class members as
25   alleged in this Complaint. Defendants shall together be referred to as “Defendants”
26   or “Hotel Collection.”
27

28
     1
      Plaintiff’s total purchase price was $164.15, which included one other product
     (Hotel Collection’s “Cabana - 50mL”) and shipping costs.
                                             -4-

                                CLASS ACTION COMPLAINT
 Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 5 of 32 Page ID #:5



 1                            JURISDICTION AND VENUE
 2         10.    This Court has subject matter jurisdiction over this action pursuant to
 3   the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because the total
 4   matter in controversy exceeds $5,000,000 and there are over 100 members of the
 5   proposed class. Further, at least one member of the proposed class is a citizen of a
 6   State within the United States and at least one defendant is the citizen or subject of
 7   a foreign state.
 8         11.    The Central District of California has specific personal jurisdiction
 9   over Hotel Collection. Specific jurisdiction over a non-resident defendant exists
10   where: (1) “[t]he non-resident defendant . . . purposefully direct[s] [it]s activities
11   or consummate[s] some transaction with the forum or resident thereof; or
12   perform[s] some act by which [it] purposefully avails [it]self of the privilege of
13   conducting activities in the forum, thereby invoking the benefits and protections of
14   its laws;” (2) the claim is one that “arises out of or relates to” the defendant’s
15   activities in the forum state; and (3) the exercise of jurisdiction comports with “fair
16   play and substantial justice, i.e. it must be reasonable.” Schwarzenegger v. Fred
17   Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004). The plaintiff need only
18   establish the first two prongs, while it is the defendant’s burden to “present a
19   compelling case” that the exercise of jurisdiction would not be reasonable. Id.
20         12.    Purposeful Availment. Under the first prong of the three-part test,
21   “purposeful availment” includes both purposeful availment and purposeful
22   direction, which are two distinct concepts. Id. Where a case sounds in tort, as here,
23   courts employ the purposeful direction test. Purposeful direction requires the
24   defendant have “(1) committed an intentional act, (2) expressly aimed at the forum
25   state, (3) causing harm that the defendant knows is likely to be suffered in the forum
26   state.” Morrill v. Scott Fin. Corp., 873 F.3d 1136, 1142 (9th Cir. 2017) (citing
27   Schwarzenegger, 374 F.3d at 802). On information and belief, Hotel Collection
28   regularly sells and ships its products to customers in California, including Plaintiff,

                                               -5-

                                 CLASS ACTION COMPLAINT
 Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 6 of 32 Page ID #:6



 1   who purchased and received the Product in Los Angeles County, California. In
 2   addition, because Hotel Collection does a substantial amount of business in
 3   California, it is knowingly employing a false reference pricing scheme directed at
 4   and harming California residents, including Plaintiff.
 5         13.     Claim Arising Out of Action in the Forum Prong. Under the second
 6   prong of the three-part specific jurisdiction test, personal jurisdiction exists where,
 7   as here, the claim “arises out of or relates to” the defendant’s activities in the forum
 8   state. Courts in the Ninth Circuit use a “but for” test to determine whether the claim
 9   “arises out of” the nonresident’s forum-related activities. In other words, the test is
10   satisfied if the plaintiff would not have suffered loss “but for” defendant’s
11   activities. Ballard v. Savage, 65 F.3d 1495, 1500 (9th Cir. 1995). Here, Hotel
12   Collection’s contact with the forum—knowingly employing a false reference
13   pricing scheme directed at California residents—is the basis of their violations of
14   various false advertising statutes. But for Hotel Collection’s contact with the forum,
15   Plaintiff (and the thousands of other individuals who purchased Hotel Collection’s
16   deceptively advertised products) would not have suffered harm.
17         14.     Venue. Venue is proper in the United States District Court for the
18   Central District of California pursuant to 28 U.S.C. § 1391 because Hotel
19   Collection:
20                 a)    is authorized to conduct business in this District and has
21                       intentionally availed itself of the laws and markets within this
22                       District;
23                 b)    does substantial business within this District;
24                 c)    is subject to personal jurisdiction in this District because it has
25                       availed itself of the laws and markets within this District; and
26                       the injury to Plaintiff occurred within this District.
27                              GENERAL ALLEGATIONS
28         15.     Hotel Collection, through its website, offers a number of scent

                                               -6-

                                 CLASS ACTION COMPLAINT
 Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 7 of 32 Page ID #:7



 1   diffusers, scent collections, candles, wines, room sprays, and many other items, to
 2   California consumers. See https://www.hotelcollection.com/.
 3         16.    Unfortunately, Hotel Collection’s business model relies on deceiving
 4   customers with fake sales. On a typical day, Hotel Collection prominently displays
 5   on its landing page some form of a sale where all products or a select grouping of
 6   products are supposedly marked down by a specified percentage. All or nearly all
 7   Hotel Collection products on the site are represented as being significantly marked
 8

 9

10

11

12

13

14

15   down from a substantially higher original or reference price, which is prominently
16   displayed to the customer as being the supposed original price (the “Reference
17   Price”), as shown in the following:
18   See id.
19         17.    By doing this, Defendants convey to customers that the product had
20   previously sold in the recent past at the Reference Price, but is being sold to the
21   customer at a substantial discount.
22         18.    However, this Reference Price in the “sale” is almost always—if not
23   always—a falsely inflated price because Hotel Collection rarely, if ever, sells its
24   items at the Reference Price. The only purpose of the Reference Price is to mislead
25   customers into believing that the displayed Reference Price is an original, regular,
26   or retail price at which Hotel Collection usually sells the item or previously sold
27   the item in the recent past. As a result, Hotel Collection falsely conveys to
28   customers that they are receiving a substantial markdown or discount, when in

                                             -7-

                                CLASS ACTION COMPLAINT
 Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 8 of 32 Page ID #:8



 1   reality, the alleged discount is false and fraudulent.
 2         19.    For example, on the individual product pages of all (or nearly all)
 3   Hotel Collection products offered on the site, Hotel Collection represented each
 4   product as being marked down and included this representation beside the crossed-
 5   out fake Reference Price. For example, for a Hotel Collection Studio Scent Diffuser
 6   (the exact Product Plaintiff purchased) being offered for $179.97, Hotel Collection
 7   displayed the following:
 8                                     $179.97 $299.95
 9

10

11

12

13

14

15

16

17

18

19

20

21

22   See https://www.hotelcollection.com/products/scent-diffuser.
23         20.    These pricing and advertising practices reflecting high-pressure fake
24   sales are patently deceptive. They are intended to mislead customers into believing
25   that they are getting a bargain by buying products from Hotel Collection on sale
26   and at a substantial and deep discount. The truth is that Hotel Collection rarely, if
27   ever, sells any of its Hotel Collection products at the Reference Price. The
28   Reference Price is, therefore, an artificially inflated price. In turn, the advertised

                                               -8-

                                 CLASS ACTION COMPLAINT
 Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 9 of 32 Page ID #:9



 1   discounts are nothing more than phantom markdowns.
 2      A. Plaintiff’s Purchase of Falsely Advertised Items from Hotel Collection
 3         21.    Plaintiff fell victim to Hotel Collection’s false advertising and
 4   deceptive pricing practices. On or about November 22, 2022, Plaintiff visited Hotel
 5   Collection’s website to shop for a scent diffuser. Plaintiff visited the site from her
 6   home in Los Angeles County. Plaintiff saw on the website that Hotel Collection
 7   was having a site-wide “sale.” Plaintiff browsed the site and observed that all the
 8   items offered had a Reference Price that was crossed out and a sale price. She found
 9   Hotel Collection’s “Studio Scent Diffuser” and added it to her shopping cart. The
10   price of the Product was listed as:
11                                    $119.97 $299.95
12         22.    In other words, Plaintiff saw that Hotel Collection represented on the
13   product description page for the Product that it was supposedly on sale based on a
14   markdown from a Reference Price. The Reference Price was displayed as a
15   substantially higher price containing a strikethrough.
16         23.    Plaintiff purchased the Product, but before doing so, relied on the
17   representation that the product listed above had in fact been offered for sale, or
18   previously sold, in the recent past at the stated Reference Price. Plaintiff relied on
19   Hotel Collection’s representation that the Product was truly on sale and being sold
20   at a substantial markdown and discount, and thereby fell victim to the deception
21   intended by Hotel Collection.
22         24.    Plaintiff paid $119.97 for the Product (however, as alleged above,
23   Plaintiff’s total purchase price was $164.15, which included one other product—
24   Hotel Collection’s “Cabana - 50mL”—and shipping costs).
25         25.    The Product Plaintiff ordered was supposed to be delivered to her in
26   Los Angeles County, California; however, to this day, Plaintiff has yet to receive
27   the Product (even though she already paid for it).
28         26.    The truth, however, is that the Product Plaintiff purchased was not

                                              -9-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 10 of 32 Page ID #:10



 1   substantially marked down or discounted, or at the very least, any discount she was
 2   receiving had been grossly exaggerated. That is because the Product Plaintiff
 3   bought had never been offered on Hotel Collection’s website for any reasonably
 4   substantial period of time—if ever—at the full Reference Price of $299.95. In fact,
 5   for at least the 90-day period prior to Plaintiff’s purchase (and likely for a longer
 6   period), Hotel Collection had not offered the Product at the Reference Price.
 7         27.    The Reference Price was a fake price used in Hotel Collection’s
 8   deceptive marketing scheme, which is clear from evidence captured on the
 9   “WayBack Machine,” an online tool that allows users to view screenshots of
10   websites at particular points in time. See https://archive.org/web/ (explaining how
11   the WayBack Machine captures screenshots from websites created years ago, and
12   allows users to see snapshots of websites it has navigated and archived at various
13   time periods; the tool archives more than 150 billion web pages that have appeared
14   since 1996, creating a digital footprint of everything that has appeared on any given
15   website at various points in time); see also Marten Transport, LTD v. Platform
16   Advertising, Inc., No. 14-2464-JWL, 2016 WL 1718862, at *2 (D. Kan. Apr. 29,
17   2016) (relying on the WayBack Machine as a source of competent evidence).
18         28.    More specifically, as shown by the WayBack Machine’s screen
19   capture of Hotel Collection’s website at various points in time, Hotel Collection
20   has been employing the exact same reference price scheme since at least July 3,
21   2022 as it is today (i.e., falsely representing its products are heavily discounted). In
22   other words, Hotel Collection has not been selling the Product at the Reference
23   Price in the recent past—let alone in the past three months.
24         ///
25         ///
26         ///
27         ///
28         ///

                                               -10-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 11 of 32 Page ID #:11



 1   August 29, 2022 Screen Capture
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14
     July 3, 2022 Screen Capture
15

16

17

18

19

20

21

22

23         29.    Hotel Collection knows that the prices are fake and artificially inflated
24   and intentionally uses them in its deceptive pricing scheme on its website to
25   increase sales and profits by misleading Plaintiff and members of the putative class
26   to believe that they are buying products at a substantial discount. Hotel Collection
27   thereby induces customers to buy products they never would have bought—or at
28   the very least, to pay more for merchandise than they otherwise would have if
                                             -11-

                                CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 12 of 32 Page ID #:12



 1   Defendants were simply being truthful about their “sales.”
 2         30.     Therefore, Plaintiff would not have purchased the Product listed
 3   above, or at the very least, would not have paid as much as she did, had Hotel
 4   Collection been truthful. Plaintiff was persuaded to make her purchase only
 5   because of the fake sale based on Hotel Collection’s fake Reference Price scheme.
 6   Plaintiff is susceptible to this recurring harm because she cannot be certain that
 7   Hotel Collection has corrected this deceptive pricing scheme, and she desires to
 8   shop at Hotel Collection’s online store in the future. Plaintiff does not have the
 9   resources on her own to determine whether Defendants are complying with
10   California law with respect to its pricing practices.
11      B. Research Shows That the Use of Reference Price Advertising Schemes
12         Similar to Hotel Collection’s Deceptive Pricing Scheme Influences
13         Consumer Behavior and Affects Consumers’ Perceptions of a Product’s
14         Value
15         31.     The effectiveness of Hotel Collection’s deceitful pricing scheme is
16   backed by longstanding scholarly research. In the seminal article entitled
17   Comparative Price Advertising: Informative or Deceptive? (cited in Hinojos v.
18   Kohl’s Corp., 718 F.3d 1098, 1106 (9th Cir. 2013)), Professors Dhruv Grewal and
19   Larry D. Compeau write that, “[b]y creating an impression of savings, the presence
20   of a higher reference price enhances subjects’ perceived value and willingness to
21   buy the product.” Dhruv Grewal & Larry D. Compeau, Comparative Price
22   Advertising: Informative or Deceptive?, 11 J. PUB. POL’Y & MKTG. 52, 55 (1992).
23   Therefore, “empirical studies indicate that, as discount size increases, consumers’
24   perceptions of value and their willingness to buy the product increase, while their
25   intention to search for a lower price decreases.” Id. at 56. For this reason, the Ninth
26   Circuit in Hinojos held that a plaintiff making a claim of deceptive pricing
27   (strikingly similar to the claim at issue here) had standing to pursue his claim
28   against the defendant retailer. In doing so, the Court observed that

                                              -12-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 13 of 32 Page ID #:13



 1   “[m]isinformation about a product’s ‘normal’ price is . . . significant to many
 2   consumers in the same way as a false product label would be.” Hinojos, 718 F.3d
 3   at 1106.
 4           32.    Professors Compeau and Grewal reached similar conclusions in a
 5   2002 article: “decades of research support the conclusion that advertised reference
 6   prices do indeed enhance consumers’ perceptions of the value of the deal.” Dhruv
 7   Grewal & Larry D. Compeau, Comparative Price Advertising: Believe It or Not,
 8   36 J.   OF    CONSUMER AFFAIRS 287 (2002). The professors also found that
 9   “[c]onsumers are influenced by comparison prices even when the stated reference
10   prices are implausibly high.” Id.
11           33.    In another scholarly publication, Professors Joan Lindsey-Mullikin
12   and Ross D. Petty concluded that “[r]eference price ads strongly influence
13   consumer perceptions of value . . . Consumers often make purchases not based on
14   price but because a retailer assures them that a deal is a good bargain. This occurs
15   when . . . the retailer highlights the relative savings compared with the prices of
16   competitors.” Joan Lindsey-Mullikin & Ross D. Petty, Marketing Tactics
17   Discouraging Price Search: Deception and Competition, 64 J. OF BUS. RESEARCH
18   67 (2011).
19           34.    Similarly, according to Professors Praveen K. Kopalle and Joan
20   Lindsey-Mullikin, “research has shown that retailer-supplied reference prices
21   clearly enhance buyers’ perceptions of value” and “have a significant impact on
22   consumer purchasing decisions.” Praveen K. Kopalle & Joan Lindsey-Mullikin,
23   The Impact of External Reference Price on Consumer Price Expectations, 79 J. OF
24   RETAILING 225 (2003).
25           35.    The results of a 1990 study by Professors Jerry B. Gotlieb and Cyndy
26   Thomas Fitzgerald, came to the conclusion that “reference prices are important
27   cues consumers use when making the decision concerning how much they are
28   willing to pay for the product.” Jerry B. Gotlieb & Cyndy Thomas Fitzgerald, An

                                             -13-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 14 of 32 Page ID #:14



 1   Investigation into the Effects of Advertised Reference Prices on the Price
 2   Consumers Are Willing to Pay for the Product, 6 J. OF APP’D BUS. RES. 1 (1990).
 3   This study also concluded that “consumers are likely to be misled into a willingness
 4   to pay a higher price for a product simply because the product has a higher reference
 5   price.” Id.
 6          36.    The unmistakable inference to be drawn from this research and the
 7   Ninth Circuit’s opinion in Hinojos is that the deceptive advertising through the use
 8   of false reference pricing employed here by Hotel Collection is intended to, and
 9   does in fact, influence customer behavior—as it did Plaintiff’s purchasing decision
10   here—by artificially inflating customer perceptions of a given item’s value and
11   causing customers to spend money they otherwise would not have, purchase items
12   they otherwise would not have, and/or spend more money for a product than they
13   otherwise would have absent the deceptive advertising.
14                          CLASS ACTION ALLEGATIONS
15          37.    Plaintiff brings this action on behalf of herself and all persons
16   similarly situated pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of
17   Civil Procedure and seeks certification of the following class:
18          All persons in the United States who purchased one or more of Hotel
19          Collection’s products from Hotel Collection’s website between
20          December 20, 2018 through the present (the “Class Period”) at a
21          discount from a higher reference price and who have not received a
22          refund or credit for their purchase(s).
23          38.    The above-described class of persons shall hereafter be referred to as
24   the “Class.” Excluded from the Class are any and all past or present officers,
25   directors, or employees of Defendants, any judge who presides over this action,
26   and any partner or employee of Class Counsel. Plaintiff reserves the right to
27   expand, limit, modify, or amend this class definition, including the addition of one
28   or more subclasses, in connection with her motion for class certification, or at any

                                              -14-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 15 of 32 Page ID #:15



 1   other time, based upon, inter alia, changing circumstances and/or new facts
 2   obtained during discovery.
 3         39.    In the alternative, Plaintiff seeks certification of the following class
 4   pursuant to Rule 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure:
 5         All persons in the State of California who purchased one or more of
 6         Hotel Collection’s products from Hotel Collection’s website between
 7         December 20, 2018 through the present (the “Class Period”) at a
 8         discount from a higher reference price and who have not received a
 9         refund or credit for their purchase(s).
10         40.    Numerosity. The Class is so numerous that joinder of all members in
11   one action is impracticable. The exact number and identities of the members of the
12   Class is unknown to Plaintiff at this time and can only be ascertained through
13   appropriate discovery, but on information and belief, Plaintiff alleges that there are
14   thousands of members of the Class. The precise number of Class members is
15   unknown to Plaintiff.
16         41.    Typicality. Plaintiff’s claims are typical of those of other members of
17   the Class, all of whom have suffered similar harm due to Defendants’ course of
18   conduct as described in this Complaint. All Class members have been deceived (or
19   were likely to be deceived) by Hotel Collection’s false and deceptive price
20   advertising scheme, as alleged in this Complaint. Plaintiff is advancing the same
21   claims and legal theories on behalf of herself and all Class members.
22         42.    Adequacy of Representation. Plaintiff is an adequate representative
23   of the Class and will fairly and adequately protect the interests of the Class. Plaintiff
24   has retained attorneys who are experienced in the handling of complex litigation
25   and class actions, and Plaintiff and her counsel intend to prosecute this action
26   vigorously. Plaintiff has no antagonistic or adverse interests to those of the Class.
27         43.    Existence and Predominance of Common Questions of Law or
28   Fact. Common questions of law and fact exist as to all members of the Class that

                                               -15-

                                  CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 16 of 32 Page ID #:16



 1   predominate over any questions affecting only individual members of the Class.
 2   These common legal and factual questions, which do not vary among members of
 3   the Class, and which may be determined without reference to the individual
 4   circumstances of any member of the Class, include, but are not limited to, the
 5   following:
 6                a)   Whether, during the Class Period, Defendants advertised false
 7                     Reference Prices on products offered on their website.
 8                b)   Whether, during the Class Period, Defendants advertised price
 9                     discounts from false Reference Prices on products offered on their
10                     website.
11                c)   Whether the products listed on Defendants’ website during the
12                     Class Period were offered at their Reference Prices for any
13                     reasonably substantial period of time prior to being offered at prices
14                     that were discounted from their Reference Prices.
15                d)   Does Defendants’ deceptive pricing scheme using false Reference
16                     Prices constitute an “unlawful,” “unfair,” or “fraudulent” business
17                     practice in violation of the California Unfair Competition Law, Cal.
18                     Bus & Prof. Code §§ 17200, et seq.?
19                e)   Does Defendants’ deceptive pricing scheme using false Reference
20                     Prices constitute “unfair, deceptive, untrue or misleading
21                     advertising” in violation of the California Unfair Competition Law,
22                     Cal. Bus & Prof. Code §§ 17200, et seq.?
23                f)   Does Defendants’ deceptive pricing scheme using false Reference
24                     Prices constitute false advertising in violation of the California
25                     False Advertising Law under Business & Professions Code §§
26                     17500, et seq.?
27                g)   Whether Defendants’ false Reference Prices on products offered on
28                     their website during the Class Period are false representations.

                                                -16-

                                   CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 17 of 32 Page ID #:17



 1               h)     Whether and when Defendants learned that false Reference Prices
 2                      on products offered on their website during the Class Period are
 3                      false representations.
 4               i)     Whether Defendants had a duty to disclose to their customers that
 5                      the Reference prices were fake “original” prices in furtherance of
 6                      sham sales.
 7               j)     To what extent did Defendants’ conduct cause, and continue to
 8                      cause, harm to the Class?
 9               k)     Whether the members of the Class are entitled to damages and/or
10                      restitution.
11               l)     What type of injunctive relief is appropriate and necessary to enjoin
12                      Defendants from continuing to engage in false or misleading
13                      advertising?
14               m) Whether Defendants’ conduct was undertaken with conscious
15                      disregard of the rights of the members of the Class and was done
16                      with fraud, oppression, and/or malice.
17         44.        Superiority. A class action is superior to other available methods for
18   the fair and efficient adjudication of this controversy because individual litigation
19   of the claims of all members of the Class is impracticable. Requiring each
20   individual class member to file an individual lawsuit would unreasonably consume
21   the amounts that may be recovered. Even if every member of the Class could afford
22   individual litigation, the adjudication of at least thousands of identical claims
23   would be unduly burdensome to the courts. Individualized litigation would also
24   present the potential for varying, inconsistent, or contradictory judgments and
25   would magnify the delay and expense to all parties and to the court system resulting
26   from multiple trials of the same factual issues.
27         45.        By contrast, the conduct of this action as a class action, with respect
28   to some or all of the issues presented, presents no management difficulties,

                                                 -17-

                                       CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 18 of 32 Page ID #:18



 1   conserves the resources of the parties and of the court system, and protects the
 2   rights of the members of the Class. Plaintiff anticipates no difficulty in the
 3   management of this action as a class action. The prosecution of separate actions by
 4   individual members of the Class may create a risk of adjudications with respect to
 5   them that would, as a practical matter, be dispositive of the interests of the other
 6   members of the Class who are not parties to such adjudications, or that would
 7   substantially impair or impede the ability of such non-party Class members to
 8   protect their interests.
 9          46.    Ascertainability. Upon information and belief, Defendants keep
10   extensive computerized records of their sales and customers through, among other
11   things, databases storing customer orders, customer order histories, customer
12   profiles, customer loyalty programs, and general marketing programs. Defendants
13   have one or more databases through which a significant majority of members of
14   the Class may be identified and ascertained, and they maintain contact information,
15   including email addresses and home addresses (such as billing, mailing, and
16   shipping addresses), through which notice of this action is capable of being
17   disseminated in accordance with due process requirements.
18          47.    The California Class also satisfies each of the class action
19   requirements set forth above. The allegations set forth above with regards to the
20   Class, therefore, apply equally to the California Class.
21                                CLAIMS FOR RELIEF
22                                  First Cause of Action
23                  Violation of California’s Unfair Competition Law,
24                         Cal. Bus. & Prof. Code §§ 17200, et seq.
25                (By Plaintiff Against Defendants on Behalf of the Class)
26          48.    Plaintiff repeats and re-alleges the allegations contained in every
27   preceding paragraph as if fully set forth herein.
28          49.    California Business and Professions Code §§ 17200 et seq., also

                                             -18-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 19 of 32 Page ID #:19



 1   known as the California Unfair Competition Law (“UCL”), prohibits acts of “unfair
 2   competition,” including any “unlawful, unfair or fraudulent business act or
 3   practice” as well as “unfair, deceptive, untrue or misleading advertising.” Cal. Bus.
 4   & Prof. Code § 17200.
 5         50.    The UCL imposes strict liability. Plaintiff need not prove that Hotel
 6   Collection intentionally or negligently engaged in unlawful, unfair, or fraudulent
 7   business practices—but only that such practices occurred.
 8         “Unlawful” Actions
 9         51.    A cause of action may be brought under the “unlawful” prong of the
10   UCL if a practice violates another law. Such an action borrows violations of other
11   laws and treats these violations, when committed pursuant to business activity, as
12   unlawful practices independently actionable under the UCL. The violation of any
13   law constitutes an “unlawful” business practice under the UCL.
14         52.    Here, by engaging in false advertising, as well as the false, deceptive,
15   and misleading conduct alleged above, Defendants have engaged in unlawful
16   business acts and practices in violation of the UCL, including violations of state
17   and federal laws and regulations, such as 15 U.S.C. § 45(a)(1), 16 C.F.R. § 233.1,
18   California Business & Professions Code sections 17500 and 17501, and California
19   Civil Code sections 1770(a)(9) and 1770(a)(13).
20         53.    The Federal Trade Commission Act (“FTCA”) prohibits “unfair or
21   deceptive acts or practices in or affecting commerce[.]” 15 U.S.C. § 45(a)(1).
22   Under FTC regulations, false former pricing schemes similar to the ones employed
23   by Defendants, are deceptive practices that would violate the FTCA:
24                One of the most commonly used forms of bargain advertising
25                is to offer a reduction from the advertiser’s own former price
26                for an article. If the former price is the actual, bona fide price at
27                which the article was offered to the public on a regular basis for
28                a reasonably substantial period of time, it provides a legitimate

                                               -19-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 20 of 32 Page ID #:20



 1                basis for the advertising of a price comparison. Where the
 2                former price is genuine, the bargain being advertised is a true
 3                one. If, on the other hand, the former price being advertised
 4                is not bona fide but fictitious – for example, where an
 5                artificial, inflated price was established for the purpose of
 6                enabling the subsequent offer of a large reduction – the
 7                “bargain” being advertised is a false one; the purchaser is not
 8                receiving the unusual value he expects. In such a case, the
 9                “reduced” price is, in reality, probably just the seller’s regular
10                price.
11   16 C.F.R. §§ 233.1(a) (emphasis added).
12         54.    Further, as detailed below in the Second Claim for Relief, Defendants’
13   conduct also violates California’s false advertising laws. Specifically, California
14   Business & Professions Code section 17500 provides, in relevant part, that it is
15   unlawful for any corporation, with intent directly or indirectly to dispose of
16   personal property, to make or disseminate in any “manner or means whatever,
17   including over the Internet, any statement, concerning that . . . personal property .
18   . . which is untrue or misleading, and which is known, or which by the exercise of
19   reasonable care should be known, to be untrue or misleading[.]” Cal. Bus. & Prof.
20   Code § 17500.
21         55.    California law also expressly prohibits false former pricing schemes
22   like the one employed by Defendants. California Business & Professions Code
23   section 17501, entitled “Worth or value; statements as to former price,” states as
24   follows:
25         No price shall be advertised as a former price of any advertised thing,
26         unless the alleged former price was the prevailing market price as
27         above defined within three months next immediately preceding the
28         publication of the advertisement or unless the date when the alleged

                                             -20-

                                CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 21 of 32 Page ID #:21



 1         former price did prevail is clearly, exactly and conspicuously stated in
 2         the advertisement.
 3   Cal. Bus. & Prof. Code § 17501.
 4         56.    Moreover, as detailed below in the Third Claim for Relief,
 5   Defendants’ conduct also violates the California Consumer Legal Remedies Act
 6   (“CLRA”). See Cal. Civ. Code §§ 1750, et seq. More specifically, Defendants
 7   violated the CLRA’s provisions prohibiting businesses from “[a]dvertising goods
 8   or services with intent not to sell them as advertised,” Cal. Civ. Code § 1770(a)(9),
 9   and “[m]aking false or misleading statements of fact concerning reasons for,
10   existence of, or amounts of price reductions[.]” Cal. Civ. Code § 1770(a)(13).
11         57.    Finally, Defendants’ solicitation of insurance by way of the “Safe
12   Ship” surcharge is an unlawful insurance policy premium that has not been
13   approved by the California Insurance Commissioner, in violation of California
14   Insurance Code §§ 1861.01(c) and 1861.05. Defendants explicitly state that with
15   an     additional      charge,      “your      order      will     be      insured!”
16   as can be seen from the screenshot obtained below:
17

18

19

20

21

22

23

24

25

26

27         58.    This constitutes the solicitation of—and when collected—the
28   collection of, an illegal agent fee or agent commission in violation of California

                                             -21-

                                CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 22 of 32 Page ID #:22



 1   Insurance Regulations, Cal. Code Regs., tit. 10, §§ 2189.3 and 2189.5. A violation
 2   of the California Insurance Code can serve as the predicate for an unlawful UCL
 3   claim. Friedman v. AARP, Inc., 855 F.3d 1047, 1052 (9th Cir. 2017).
 4         “Unfair” Actions
 5         59.    A business act or practice is “unfair” under the UCL if it offends an
 6   established public policy or is immoral, unethical, oppressive, unscrupulous or
 7   substantially injurious to consumers, and that unfairness is determined by weighing
 8   the reasons, justifications, and motives of the practice against the gravity of the
 9   harm to the alleged victims.
10         60.    Here, Defendants’ actions constitute “unfair” business acts or
11   practices because, as alleged above, Defendants engaged in a misleading and
12   deceptive pricing scheme by advertising and representing false Reference Prices
13   and thereby falsely advertising and representing markdowns or “discounts” that
14   were false and inflated. Defendants’ deceptive marketing practice gave consumers
15   the false impression that its products were regularly sold on the market for a
16   substantially higher price in the recent past than they actually were and thus led to
17   the false impression that Defendants’ products were worth more than they actually
18   were. Defendants’ acts and practices therefore offended an established public
19   policy, and they engaged in immoral, unethical, oppressive, and unscrupulous
20   activities that are substantially injurious to consumers.
21         61.    The harm to Plaintiff and members of the Class outweighs the utility
22   of Defendants’ practices. There were reasonably available alternatives to further
23   Defendants’ legitimate business interests, other than the misleading and deceptive
24   conduct described in this Complaint.
25         “Fraudulent” Actions
26         62.    A business act or practice is “fraudulent” within the meaning of the
27   UCL if members of the public are likely to be deceived.
28         63.    Here, members of the public are likely to be deceived by Defendants’

                                              -22-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 23 of 32 Page ID #:23



 1   conduct as alleged above. Among other things, Defendants affirmatively
 2   misrepresented the Reference Prices of their products, which thereby misled and
 3   deceived customers into believing that they were buying merchandise from
 4   Defendants at substantially marked-down and discounted prices. Defendants’
 5   deceptive marketing practice gave consumers the false impression that their
 6   products were regularly sold on the market for a substantially higher price in the
 7   recent past than they actually were and led to the false impression that Defendants’
 8   products were worth more than they actually were.
 9         64.    In addition, Defendants had a duty to disclose the truth about their
10   pricing deception, including, among other things, that the Reference Prices
11   advertised and published on their website were not, in fact, prices at which Hotel
12   Collection’s products had sold for in the recent past for a reasonably substantial
13   period of time, but that instead, in reality, Defendants’ products rarely (if ever)
14   were offered at the advertised Reference Prices. Defendants, however, concealed
15   this material information from customers and the general public. Members of the
16   public, therefore, were also likely to be deceived by Defendants’ failure to disclose
17   material information.
18         65.    Plaintiff and each member of the Class suffered an injury in fact and
19   lost money or property as a result of Defendants’ unlawful, unfair, and/or
20   fraudulent business practices, and as a result of Defendants’ unfair, deceptive,
21   untrue or misleading advertising.
22         66.    Plaintiff, on behalf of herself and the members of the Class, seeks
23   disgorgement of all moneys received by Defendants through the conduct described
24   above.
25         67.    Plaintiff, on behalf of herself and the members of the Class, seeks a
26   temporary, preliminary, and/or permanent injunction from this Court prohibiting
27   Defendants from engaging in the patterns and practices described herein, including
28   but not limited to, putting a stop to their deceptive advertisements and false

                                             -23-

                                CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 24 of 32 Page ID #:24



 1   Reference Prices in connection with their sale of Hotel Collection products on their
 2   website.
 3         68.    Injunctive relief is necessary to prevent future harm to consumers,
 4   including Plaintiff, who would like to purchase the products in the future. Every
 5   day, consumers like Plaintiff are misled into believing they are receiving a discount.
 6   Without injunctive relief, Defendants will continue to mislead consumers, and
 7   consumers will purchase products they otherwise would not have purchased
 8   because they will be unable to determine whether they are actually receiving a
 9   discount.
10                                Second Cause of Action
11                   Violation of California’s False Advertising Law
12                       Cal. Bus. & Prof. Code §§ 17500, et seq.
13               (By Plaintiff Against Defendants on Behalf of the Class)
14         69.    Plaintiff repeats and re-alleges the allegations contained in every
15   preceding paragraph as if fully set forth herein.
16         70.    The California False Advertising Law, codified at California Business
17   & Professions Code sections 17500, et seq. (the “FAL”) provides, in relevant part,
18   that it is unlawful for any corporation, with intent directly or indirectly to dispose
19   of personal property, to make or disseminate in any “manner or means whatever,
20   including over the Internet, any statement, concerning that . . . personal property .
21   . . which is untrue or misleading, and which is known, or which by the exercise of
22   reasonable care should be known, to be untrue or misleading[.]” Cal. Bus. & Prof.
23   Code § 17500.
24         71.    Similarly, the FAL provides, in relevant part, that “no price shall be
25   advertised as a former price of any advertised thing, unless the alleged former price
26   was the prevailing market price . . . within three months next immediately
27   preceding the publication of the advertisement or unless the date when the alleged
28   former price did prevail is clearly, exactly, and conspicuously stated in the

                                              -24-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 25 of 32 Page ID #:25



 1   advertisement.” Cal Bus. & Prof. Code § 17501.
 2         72.    Here, Defendants routinely disseminated on their website false
 3   Reference Prices for the products offered for sale on their website, including to
 4   Plaintiff. Such statements of Defendants were untrue, or at the very least, were
 5   misleading. Among other things, Defendants rarely, if ever, offered Hotel
 6   Collection’s products on their website at the Reference Prices displayed in
 7   connection with their products. Further, Defendants rarely, if ever, offered Hotel
 8   Collection’s products on their website at the Reference Prices within the three
 9   months immediately preceding the publication of the Reference Prices. Defendants
10   therefore misled customers, including Plaintiff, into believing that the Reference
11   Prices are, or were, genuine former prices and that the “sale” prices relative to the
12   published Reference Prices, in fact, reflected real and substantial discounts.
13   Defendants’ deceptive marketing practice gave consumers the false impression that
14   their products were regularly sold for a substantially higher price in the recent past
15   than they actually were and thus led to the false impression that Defendants’
16   products were worth more than they actually were.
17         73.    Defendants engaged in this deceptive conduct with the intent to
18   dispose of personal property—namely, with the intent to increase sales of Hotel
19   Collection’s products offered by Defendants on their website.
20         74.    Defendants knew, or by the exercise of reasonable care should have
21   known, that their dissemination of Reference Prices for the Hotel Collection
22   products sold on their website was untrue and/or misleading. Among other things,
23   Defendants represented the Reference Prices in connection with the Hotel
24   Collection products sold on their website even though they knew, or in the exercise
25   of reasonable care should have known, that such products had rarely, if ever, sold
26   at the crossed-out Reference Prices.
27         75.    As a direct and proximate result of Defendants’ misleading and false
28   advertisements, Plaintiff and members of the Class have suffered injury in fact and

                                              -25-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 26 of 32 Page ID #:26



 1   have lost money. As such, Plaintiff requests that this Court order Defendants to
 2   restore this money to Plaintiff and all members of the Class, and to enjoin
 3   Defendants from continuing their false and misleading advertising practices in
 4   violation of California law in the future. Otherwise, Plaintiff, members of the Class,
 5   and the broader general public will be irreparably harmed and/or denied an
 6   effective and complete remedy.
 7                                 Third Cause of Action
 8               Violation of the California Consumer Legal Remedies Act,
 9                             Cal. Civ. Code §§ 1750, et seq.
10                (By Plaintiff Against Defendants on Behalf of the Class)
11         76.     Plaintiff repeats and re-alleges the allegations contained in every
12   preceding paragraph as if fully set forth herein.
13         77.     The Consumer Legal Remedies Act of 1970, Cal. Civ. Code §§ 1750,
14   et seq. (the “CLRA”) is a California consumer protection statute which allows
15   plaintiffs to bring private civil actions for “unfair methods of competition and
16   unfair or deceptive acts or practices undertaken by any person in a transaction . . .
17   which results in the sale or lease of goods or services to any consumer.” Cal. Civ.
18   Code § 1770(a). The purposes of the CLRA are “to protect consumers against
19   unfair and deceptive business practices and to provide efficient and economical
20   procedures to secure such protection.” Cal. Civ. Code § 1760.
21         78.     Plaintiff and each member of the Class are “consumers” as defined by
22   California Civil Code section 1761(d). Defendants’ sale of their Hotel Collection
23   products on their website to Plaintiff and the Class were “transactions” within the
24   meaning of California Civil Code section 1761(e). The products purchased by
25   Plaintiff and the Class are “goods” within the meaning of California Civil Code
26   section 1761(a).
27         79.     Defendants violated and continue to violate the CLRA by engaging in
28   the following practices prohibited by California Civil Code section 1770(a) in

                                              -26-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 27 of 32 Page ID #:27



 1   transactions with Plaintiff and the Class which were intended to result in, and did
 2   result in, the sale of Hotel Collection-branded products:
 3                (1) Advertising goods or services with the intent not to sell them as
 4                   advertised; and
 5                (2) Making false or misleading statements of fact concerning
 6                   reasons for, the existence of, or amounts of price reductions.
 7   Cal. Civ. Code §§ 1770(a)(9) & (13).
 8          80.      With regards to section 1770(a)(9), Defendants advertised and
 9   represented their branded products on their website with the “intent not to sell”
10   them as advertised because, among other things the false Reference Prices
11   advertised in connection with products offered on their website misled and continue
12   to mislead customers into believing the merchandise was previously offered for
13   sale and/or sold at the higher Reference Prices for some reasonably substantial
14   period of time.
15          81.      With regards to section 1770(a)(13), Defendants made false or
16   misleading statements of fact concerning the “existence of” and the “amounts of
17   price reductions” because, among other things no true price reductions existed—or
18   at the very least, any price reductions were exaggerated—in that Defendants’
19   products were rarely, if ever, previously offered for sale and/or sold at the higher
20   Reference Prices for a reasonably substantial period of time.
21          82.      As to this cause of action, at this time, Plaintiff seeks only injunctive
22   relief at this time. Pursuant to Cal. Civ. Code § 1782, in conjunction with the filing
23   of this action, Plaintiff’s counsel is notifying Defendants by separate letter of the
24   particular violations of the CLRA and demanding that it correct or agree to correct
25   the actions described in this Complaint. If Defendants fail to do so, Plaintiff shall
26   amend her Complaint as of right (or otherwise seek leave to amend the Complaint)
27   to include compensatory and monetary damages to which Plaintiff and the Class is
28   entitled.

                                                -27-

                                    CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 28 of 32 Page ID #:28



 1                                 Fourth Cause of Action
 2                                Fraudulent Concealment
 3               (By Plaintiff Against Defendants on Behalf of the Class)
 4         83.    Plaintiff repeats and re-alleges the allegations contained in every
 5   preceding paragraph as if fully set forth herein.
 6         84.    Defendants uniformly disclosed some facts to Plaintiff and all
 7   members of the Class during the Class Period in connection with their “Hotel
 8   Collection” products, and other items on their website. Namely, Defendants
 9   disclosed a Reference Price for each item by displaying on the product description
10   page for each product a Reference Price substantially higher than the offered selling
11   price, which is marked down or discounted from the Reference Price by a
12   significant discount.
13         85.    Defendants, however, intentionally failed to disclose other facts,
14   making Defendants’ disclosure deceptive. Specifically, Defendants failed to
15   disclose that Defendants rarely, if ever, previously offered for sale and/or sold their
16   products at the higher Reference Price for any reasonably substantial period of
17   time. As a result, Defendants deceived Plaintiff and the Class into believing that
18   they were purchasing items at a substantial markdown or discount when, in reality,
19   the false Reference Price and discounting practice artificially inflated the true
20   market value of the items they purchased.
21         86.    As a separate basis for concealment, Defendants uniformly and
22   intentionally concealed from Plaintiff and all members of the Class that the items
23   they purchased from Defendants had rarely, if ever, been sold by Defendants in the
24   recent past at the substantially higher Reference Price displayed on Defendants’
25   website and/or in the prevailing market. These were facts known only to
26   Defendants that Plaintiff and the Class could not have discovered.
27         87.    Plaintiff and the Class did not know of the concealed facts.
28         88.    Defendants intended to deceive Plaintiff and the Class by concealing

                                              -28-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 29 of 32 Page ID #:29



 1   the facts described above.
 2          89.    Had the omitted information been disclosed, Plaintiff reasonably
 3   would have behaved differently. Among other things, Plaintiff would not have
 4   purchased the items she purchased from Defendants, or, at the very least, she would
 5   not have paid as much for the items as he ultimately did.
 6          90.    The omitted information was material and thus, reliance is presumed
 7   on a class-wide basis. Davis-Miller v. Auto. Club of S. Cal., 201 Cal.App.4th 106,
 8   122 (2011). The omitted information related to the price of the items sold on
 9   Defendants’ website and whether Plaintiff was receiving a true and genuine
10   substantial discount or whether, instead, Plaintiff was being deceived into buying
11   products through a pricing scheme utilizing fake, artificially inflated former prices.
12   A reasonable person would plainly attach importance to matters affecting pricing
13   in determining his or her purchasing decision.
14          91.    As a direct and proximate result of the above, Plaintiff and the Class
15   have been harmed and suffered damages in an amount to be proven at trial.
16          92.    Defendants undertook these illegal acts intentionally or with
17   conscious disregard of the rights of Plaintiff and the Class, and did so with fraud,
18   malice, and/or oppression. Based on the allegations above, Defendants’ actions
19   constituted fraud because Defendants intended to and did deceive and injure
20   Plaintiff and the Class. Based on the allegations above, Defendants’ actions
21   constituted malice because Defendants acted with the intent to and did cause injury
22   to Plaintiff and the Class, and also because Defendants’ deceptive conduct was
23   despicable and was done with a willful and knowing disregard of the rights of
24   Plaintiff and the Class. Based on the allegations above, Defendants’ actions
25   constituted oppression because Defendants’ deceptive conduct was despicable and
26   subjected Plaintiff and the Class to cruel and unjust hardship in knowing disregard
27   of their rights.
28

                                              -29-

                                  CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 30 of 32 Page ID #:30



 1                               PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff Adelina Petrova prays for relief and judgment in
 3   favor of herself and the Classes as follows:
 4    On the First Cause of Action for Violations of the Unfair Competition Law
 5                      (Cal. Bus. & Prof. Code §§ 17200, et seq.)
 6         A.     For an order certifying that the action be maintained as a class action,
 7   that Plaintiff be designated the class representative, and that undersigned counsel
 8   be designated as class counsel.
 9         B.     For an award of equitable and declaratory relief.
10         C.     For pre- and post-judgment interest and costs of suit incurred herein.
11         D.     For attorneys’ fees incurred herein pursuant to California Code of
12   Civil Procedure section 1021.5, or to the extent otherwise permitted by law.
13         E.     For such other and further relief as the Court may deem just and
14   proper.
15    On the Second Cause of Action for Violations of the False Advertising Law
16                      (Cal. Bus. & Prof. Code §§ 17500, et seq.)
17         A.     For an order certifying that the action be maintained as a class action,
18   that Plaintiff be designated the class representative, and that undersigned counsel
19   be designated as class counsel.
20         B.     For an injunction putting a stop to the deceptive and misleading
21   conduct described herein and ordering Defendants to correct their deceptive and
22   misleading advertising and pricing practices.
23         C.     For an award of restitution and disgorgement of moneys paid that
24   Defendants obtained as a result of their unfair, deceptive, untrue, and misleading
25   advertising, all as described above.
26         D.     For an award of equitable and declaratory relief.
27         E.     For pre- and post-judgment interest and costs of suit incurred herein.
28         F.     For attorneys’ fees incurred herein pursuant to California Code of

                                             -30-

                                CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 31 of 32 Page ID #:31



 1   Civil Procedure section 1021.5, or to the extent otherwise permitted by law.
 2         G.      For such other and further relief as the Court may deem just and
 3   proper.
 4        On the Third Cause of Action for Violations of the Consumer Legal
 5                    Remedies Act (Cal. Civ. Code §§ 1750, et seq.)
 6         A.      For an order certifying that the action be maintained as a class action,
 7   that Plaintiff be designated the class representative, and that undersigned counsel
 8   be designated as class counsel.
 9         B.      For an injunction putting a stop to the deceptive and misleading
10   conduct described herein and ordering Defendants to correct their deceptive and
11   misleading advertising and pricing practices.
12         C.      For pre- and post-judgment interest and costs of suit incurred herein.
13         D.      For attorneys’ fees incurred herein pursuant to California Civil Code
14   section 1780, or to the extent otherwise permitted by law.
15         E.      For such other and further relief as the Court may deem just and
16   proper.
17              On the Fourth Cause of Action for Fraudulent Concealment
18         A.      For an order certifying that the action be maintained as a class action,
19   that Plaintiff be designated the class representative, and that undersigned counsel
20   be designated as class counsel.
21         B.      For compensatory damages in an amount to be proven at trial.
22         C.      For pre- and post-judgment interest and costs of suit incurred herein.
23         D.      For attorneys’ fees incurred herein pursuant to California Code of
24   Civil Procedure section 1021.5, or to the extent otherwise permitted by law.
25         E.      For such other and further relief as the Court may deem just and
26   proper.
27

28

                                              -31-

                                 CLASS ACTION COMPLAINT
Case 2:22-cv-09231 Document 1 Filed 12/20/22 Page 32 of 32 Page ID #:32



 1                            DEMAND FOR JURY TRIAL
 2         Plaintiff, on behalf of herself and the Class, hereby demands a trial by jury
 3   pursuant to Federal Rule of Civil Procedure 38(b) on all claims so triable.
 4

 5   DATED: December 20, 2022                  Respectfully submitted,
 6                                              KJC LAW GROUP, A.P.C.
 7                                              By: /s/ Kevin J. Cole
 8                                              Attorneys for Plaintiff
                                                Adelina Petrova
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             -32-

                                CLASS ACTION COMPLAINT
